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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
ANDREW CHIEN,
Plaintiff,
v. Civil Action No. 3:18cv106
DIANA GRIBBON MOTZ, et al.,

Defendants.
MB

This matter is before the Court on the Reports and Recomrnendations of the Magistrate
Judge entered on January 7, 2019 (“the First R&R”), and January ll, 2019 (the “Second R&R”).
(ECF Nos. 28, 30.) The time to file objections has expired and no party has objected to either the
First R&Rl or the Second R&R. Having considered the matter and deeming it otherwise proper
and just to do so, it is hereby ORDERED:

(l) The First R&R, (ECF No. 28), is ADOPTED as the opinion of this Court;

(2) Defendants’ Motion to Dismiss, (ECF No. 13), is GRANTED, and
Plaintift’s Complaint, (ECF No. 1), is DISMISSED WITH PREJUDICE;

(3) Plaintif`f’ s Motions, (ECF Nos. 17, 19, 20, 21, 25, 26) are DENIED;

(4) The Second R&R, (ECF No. 30), is also ADOPTED as the opinion of this
Court; and

(5) Plaintif`f"s Motion, (ECF No. 29) is DENIED.

 

' Although Chien did not file any formal objections to the First R&R, on January 10,
2019, Chien filed the “Motion to Public the Letter from the Defendants,” (ECF No. 29). The
Magistrate Judge construed this filing as a Motion to Publish and in the Second R&R
recommended that the Court deny it. (Second R&R 1, ECF No. 30.) The Magistrate Judge
notified the parties that they may file an objection within fourteen (14) days after being served
with a copy of the Second R&R. (Id. 2.)

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To the extent Chien believes that he has grounds to appeal this decision, written notice of
appeal must be filed With the Clerk of Court within thirty (30) days of the entry of this Order.2
Failure to file an appeal within that period may result in the loss of the right to appeal.

Let the Clerk send a copy of this Order to all counsel of record and to Chien at his
address of record.

It is so ORDERED.

 

United State |1 rictJudge

Date: lI'LB/?_b\q
Richrnond, Virginia

 

2 See Fed. R. App. P. 4(3)(1)(A).

